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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                  §
                                          §
                                          §
                                          §
VS.                                       §      CRIMINAL NO. H-11-112-1
                                          §
                                          §
SIMONE BALL                               §
                                          §




                                     ORDER

       Defendant filed an unopposed motion for continuance of the sentencing hearing,

(Docket Entry No. 156).The motion for continuance is GRANTED. The sentencing hearing

is reset to November 27, 2012, at 10:00 a.m.

             SIGNED on November 2, 2012, at Houston, Texas.


                                               ______________________________________
                                                        Lee H. Rosenthal
                                                  United States District Judge
